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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  _________________________________________/
         AMENDED CONFIDENTIALITY STIPULATION AND PROTECTIVE ORDER

            WHEREAS, the parties are engaged in disclosure and discovery which may involve,

  among other things, the production of documents and information deemed confidential, including

  trade secrets and other confidential research, development, technical, or commercial information,

  and personal information of parties and third parties;

            WHEREAS, the parties believe that entry of a protective order pursuant to Rule 26(c) of

  the Federal Rules of Civil Procedure is necessary to protect such trade secrets and other

  confidential research, development, technical, or commercial information personal information of

  parties and third parties that may be produced or provided by the parties or non-parties, and the

  parties have stipulated to the following proposed protective order;

            WHEREAS, the parties desire to facilitate the process of disclosure and discovery while at

  the same time adequately and reasonably protecting the confidentiality of such documents and

  information, and without burdening the Court with unnecessary procedural litigation; and

            WHEREAS, good cause appears to exist for entry of a protective order of confidentiality;

  now, therefore,
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         IT IS HEREBY STIPULATED AND AGREED, by and among the parties through their

  undersigned attorneys, as follows:

         1.        This Protective Order shall be applicable to and govern all depositions,

  documents produced in response to requests for production of documents, answers to

  interrogatories, responses to requests for admission, and all other discovery taken pursuant to the

  Federal Rules of Civil Procedure, as well as other information hereafter furnished, directly or

  indirectly, by or on behalf of any party or non-party in connection with this action (collectively,

  “Discovery Materials”). Discovery Materials that are, in good faith, designated Confidential or

  Attorneys’ Eyes Only as provided herein shall be used by any authorized recipients solely for the

  purposes of conducting this litigation and not for any other purpose whatsoever, and such

  information shall not be disclosed to anyone except as provided herein unless and until such

  designation is challenged and reversed by the Court as provided for herein. 1

         2.      The term “producing party” means the party or non-party designating documents or

  information as Confidential or Attorneys’ Eyes Only Information under this Protective Order.

         3.      The term “receiving party” means each party to whom the Confidential or

  Attorneys’ Eyes Only Information is disclosed.

         4.      The producing party may, in good faith, designate as “Confidential Information”

  any business, proprietary, or personal information contained in Discovery Material and any other

  non-public or sensitive information of the parties and their affiliates (including, by way of example

  and not limitation, unpublished information generated or gathered in the course of news gathering

  and reporting information) by marking, or otherwise requesting that such information be treated as



  1
    This Protective Order does not apply to hearings or trial before the Court. The parties, any party
  in interest, and/or the witnesses, can move the Court to seal any court proceeding for reasons
  consistent with this Protective Order.


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  Confidential. The producing party may, in good faith, designate as “Attorneys’ Eyes Only

  Information” any highly confidential information or personal information, including but not

  limited to highly sensitive technical information, financial information, and any information that is

  so commercially or personally sensitive that disclosure to the opposing party is likely to cause

  competitive or personal harm to the producing party. This category also includes material

  designated Attorneys’ Eyes Only before the entry of this Amended Confidentiality Stipulation and

  Protective Order.

         5.      Confidential Information and Attorneys’ Eyes Only Information shall be subject to

  the terms, conditions and restrictions of this Confidentiality Stipulation and Protective Order.

         6.      Confidential Information shall not be delivered, disclosed or disseminated except

  to the following persons:

         (a)     counsel for any party in this action, including attorneys of record or of counsel to a

                 party and in-house counsel, their partners and associate attorneys, and any litigation

                 assistant, paralegal, stenographic secretarial or clerical personnel assisting counsel

                 in this action;

         (b)     a party, including in the case of corporate parties, their directors and officers, and

                 employees designated to assist counsel in this action;

         (c)     experts who are assisting counsel in the preparation of this action and who are not

                 employees of the defendant, including their assistants and stenographical,

                 secretarial or clerical personnel;

         (d)     witnesses and deponents in this action who are shown the Confidential Information

                 while testifying;




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         (e)    the author, custodian, or any individual identified as a recipient of the Discovery

                Material, or the original source of the information, who executes an

                acknowledgement in substantially the form attached hereto as Exhibit A as set forth

                in Paragraph 10;

         (f)    court personnel and any court reporter or typist recording or transcribing testimony;

         (g)    any shorthand or court reporters or videographers retained to report a deponent’s

                testimony taken in this case; and

         (h)    any other person whom the parties agree, in advance and in writing, may receive

                such protected information, provided such person has executed the Notification of

                Protective Order attached hereto as Exhibit A.

         7.     Attorneys’ Eyes Only Information shall not be delivered, disclosed or disseminated

  except to the following persons:

         (a)    counsel for any party in this action, including attorneys of record or of counsel to a

                party and in-house counsel, their partners and associate attorneys, and any litigation

                assistant, paralegal, stenographic secretarial or clerical personnel assisting counsel

                in this action;

         (b)    experts who are assisting counsel in the preparation of this action and who are not

                employees of the defendant, including their assistants and stenographical,

                secretarial or clerical personnel, where the Attorneys’ Eyes Only Information is

                relevant to their area of expert assistance;

         (c)    witnesses and deponents in this action who are shown the Attorneys’ Eyes Only

                Information while testifying;




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         (d)     the author, custodian, or any individual identified as a recipient of the Discovery

                 Material, or the original source of the information, who executes an

                 acknowledgement in substantially the form attached hereto as Exhibit A as set forth

                 in Paragraph 10;

         (e)     court personnel and any court reporter or typist recording or transcribing testimony;

         (f)     any shorthand or court reporters or videographers retained to report a deponent’s

                 testimony taken in this case; and

         (g)     any other person whom the parties agree, in advance and in writing, may receive

  such protected information, provided such person has executed the Notification       of   Protective

  Order attached hereto as Exhibit A.

         8.      Persons who receive Confidential and/or Attorneys’ Eyes Only Information

  pursuant to Paragraphs 6(c-h) and 7(b-g) shall be provided by the party disseminating such

  information with a copy of this Order and shall execute an acknowledgement, in substantially the

  form attached hereto as Exhibit A, that they have reviewed such Order and agree to be bound by it,

  with a copy of such acknowledgement provided to all parties.

         9.      All Discovery Material and all transcripts of testimony and copies of Court-filed

  papers consisting of or containing Confidential and/or Attorneys’ Eyes Only Information, and

  summaries, descriptions or reports regarding the contents thereof, shall be kept at all times only in

  the custody of counsel of record for the party, except when being used by other persons pursuant to

  Paragraphs 6 and 7.

         10.     All pleadings, motion papers, memoranda, affidavits, exhibits, transcripts and other

  papers that consist of or contain Confidential and/or Attorneys’ Eyes Only Information shall, if

  filed with the Court, be placed in a sealed envelope endorsed with the caption of the action and




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  marked or designated with the legend:          “CONFIDENTIAL MATERIAL PURSUANT TO

  COURT ORDER IN ALEKSEJ GUBAREV, ET AL. V. BUZZFEED, INC., ET AL., Case No.

  17-CV-60426-UU, Dated _______ __, 20__.” Where possible, only the confidential portions of

  filings with the Court shall be filed under seal.

         11.     Counsel for either party may designate as Confidential and/or Attorneys’ Eyes

  Only Information that part of a deposition transcript that discloses or discusses Confidential and/or

  Attorneys’ Eyes Only Information, by making a statement to that effect for inclusion in the

  deposition transcript at or prior to the conclusion of a deposition, provided, however, that if such

  deposition is not concluded in one day, such designation is to be made at or prior to the conclusion

  of the session at which the Confidential and/or Attorneys’ Eyes Only Information was disclosed or

  discussed. Those portions of a deposition transcript that are designated as Confidential and/or

  Attorneys’ Eyes Only pursuant hereto shall be bound separately and stamped “Confidential

  Information” or “Attorneys’ Eyes Only Information,” and, if filed with the court, shall be filed

  separately and under seal. The deponent shall be instructed that he may not disclose any

  Confidential and/or Attorneys’ Eyes Only Information. Confidential and/or Attorneys’ Eyes Only

  Information shall not be left in the possession of deponents.

         12.     A party may exclude from a deposition any person who is not entitled to have

  access Confidential and/or Attorneys’ Eyes Only Information when such information is the subject

  of examination.

         13.     Within thirty (30) days after the designation of any material or information as

  Confidential and/or Attorneys’ Eyes Only Information, any party shall have the right to challenge

  such designation in writing, stating with specificity the document, deposition transcript, other

  material or portion thereof which the challenging party believes has been improperly designated as




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  confidential, and stating with specificity the reasons for such challenge. The designating party

  shall have fifteen (15) days from the receipt of such notice to seek an order from the court

  upholding the designation as Confidential and/or Attorneys’ Eyes Only Information. If such

  application to the Court is made, the material challenged as not being properly classified shall

  remain Confidential and/or Attorneys’ Eyes Only Information until there is a ruling by the Court

  on said application. Any failure to object to any material being designated as Confidential and/or

  Attorneys’ Eyes Only Information shall not be construed as an admission by any non-designating

  party that the material constitutes or contains a trade secret or other confidential information. In

  reviewing a designation of Confidentiality and/or Attorneys’ Eyes Only, there shall be no

  presumption by the Court that materials are Confidential and/or Attorneys’ Eyes Only simply

  because a Party has so designated the materials. A party cannot make confidential that which the

  law does not recognize as confidential, simply by designating it as such.

         14.     Upon final termination of this action, the receiving parties shall within sixty (60)

  days assemble and return to the producing party all documentary material or memoranda

  embodying Confidential and/or Attorneys’ Eyes Only Information, including all copies of such

  memoranda or documentary material which may have been made, but not including any notes or

  other attorney’s work product that may have been placed thereon by counsel. Receipt of such

  documentary material shall be acknowledged in writing. As to any copies of confidential materials

  claimed to contain attorney’s work product, they shall be destroyed by the receiving party within

  sixty (60) days of the final termination of this action. In lieu of returning such Confidential and/or

  Attorneys’ Eyes Only Information, a Party may permanently delete or destroy all such copies of

  such Confidential and/or Attorneys’ Eyes Only Information and provide the producing Party with

  an affidavit attesting to having done so.




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         15.     The provisions of this Confidentiality Stipulation and Protective Order shall

  survive the conclusion of this action. Nothing contained herein shall constitute a waiver of the

  right to assert any objection to a discovery request; nor shall anything contained herein prevent

  disclosure beyond the terms of this Confidentiality Stipulation and Protective Order if the

  producing party consents in writing to such disclosure, or limit or prejudice the right of any party,

  after reasonable attempts to resolve the dispute informally and thereafter on 10 days prior written

  notice, to seek a Court order broadening or restricting the rights of access to or use of Confidential

  and/or Attorneys’ Eyes Only Information, or for other modifications of this Confidentiality

  Stipulation and Protective Order.

         16.     Any party or person receiving Confidential and/or Attorneys’ Eyes Only

  Information covered by this Agreement that receives a subpoena, request from a government

  agency or committee, or becomes subject to an order for production or disclosure of Confidential

  and/or Attorneys’ Eyes Only Information shall, within two (2) days of receipt thereof, give written

  notice by facsimile or electronic transmission to the source of the Confidential and/or Attorneys’

  Eyes Only Information identifying the information sought and attaching a copy of the order,

  subpoena, government agency or committee request, or other legally-mandated request. The

  person subject to the subpoena, request or order of any court, arbitrator, attorney, government

  agency or like entity shall not produce or disclose the requested information without consent of the

  source of the information or until ordered by a court of competent jurisdiction to do so, provided

  that the source makes a motion or other application for relief from the subpoena or other request in

  the appropriate forum, within ten (10) days of being provided with notice pursuant to this section.

         17.     If a party’s production of documents inadvertently includes privileged documents

  or documents containing privileged information, such party’s inadvertent production of any such




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  documents will not constitute a waiver of privilege. Upon being advised by the producing party or

  its counsel that a particular document or class of documents has been inadvertently produced and is

  claimed to be privileged or to contain privileged information, the receiving party will promptly

  take reasonable steps to locate and return or destroy all copies of any such document (with the

  producing party bearing the reasonable costs of such locating and return or destruction, including

  any reasonable database modification costs) and any such document shall, in any event, not

  thereafter be used for any purpose, unless adjudicated not to be privileged. Nothing in this

  paragraph shall alter any attorney’s responsibilities under applicable law or codes of ethics when

  confronted with inadvertently produced privileged information or documents.

           18.   The provisions of this Order shall not apply to any document or information

  obtained by any party from any source other than the parties to this action or their agents or

  counsel, or from non-parties pursuant to notice or subpoena herein; nor shall the provisions of this

  Order apply to any publicly available documents or other information.

           19.   None of the provisions of this Order will prevent any of the parties from seeking to

  introduce into evidence at any trial of this case any of the documents which may have been

  designated as Confidential and/or Attorneys’ Eyes Only Information, subject to the rulings of the

  Court.

           20.   Nothing herein shall prevent any party or non-party from seeking additional relief

  from the Court not specified in this Protective Order, or from applying to the Court for further or

  additional protective orders.

           21.   Nothing contained in this Protective Order shall affect the right of any party to

  make any objection, claim any privilege, or otherwise contest any request for production of

  documents, interrogatory, request for admission, subpoena, or question at a deposition or to seek




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  further relief or protective order from the Court as permitted by the Federal Rules of Civil

  Procedure. Nothing in this Protective Order shall constitute an admission or waiver of any claim or

  defense by any party.

         22.     If a party inadvertently fails to designate Discovery Materials, it shall not be

  deemed a waiver in whole or in part of a party’s claim of confidentiality, either as to the specific

  information disclosed or as to any other information relating thereto or on the same or related

  subject matter. As soon as the receiving party is notified in writing of the inadvertent production,

  the information must be treated as if it had been timely designated under this Protective Order, and

  the receiving party must endeavor in good faith to obtain all copies of the document which it

  distributed or disclosed to persons not authorized to access such information, as well as any copies

  made by such persons.

         23.     This Protective Order shall not be construed to apply to any information that: (a) is

  available to the public other than through a breach of this Protective Order or other duty of

  confidentiality; (b) a receiving party can demonstrate was already known to the party at the time of

  disclosure and was not subject to conditions of confidentiality; or (c) a receiving party can

  demonstrate was developed by that party independently of any disclosure by a designating party or

  non-party.

         24.     The parties agree that after this Order is signed by all parties, it shall be submitted

  to the court for approval and that all parties take all steps necessary to obtain that approval;

  however, the parties hereby agree among themselves that the provisions of this Order shall, to the

  fullest extent possible, become effective immediately upon the signing of this Order by all counsel

  and prior to the approval of this Order by the Court.




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         25.     Each party may propose modifications to this Order by further agreement of

  counsel if circumstances warrant or, for good cause shown, may seek to modify this Order upon

  motion made to the court.


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   Counsel for Plaintiffs                                  Counsel for Defendants




        DONE and ORDERED in chambers at Miami, Florida, this ____ day of
  ______________________, 2017.

                                                     ______________________________
                                                     United States Magistrate Judge




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                                         Exhibit A
                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/



            I, __________________________ hereby acknowledge that as a condition of being given

  access to Confidential Information, as these terms are defined in the Confidentiality Stipulation

  and Protective Order in effect in this action, I am required to agree to certain restrictions on any use

  of such Confidential Information; that such Confidential Information is governed by the

  Confidentiality Stipulation and Protective Order, which I have read; and I hereby agree to be

  bound by the terms of that Confidentiality Stipulation and Protective Order, including any

  penalties for breach of its confidentiality provisions.



                                          Signature: ________________________________

                                          Print Name: _______________________________

                                          Date: ___________________________________
